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 8                        UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES,                        No.    2:16-cr-00090-JAM
12                 Plaintiff,
13        v.                               ORDER DISMISSING INDICTMENT
                                           AGAINST DEFENDANT MOORE
14   DANADO EUGENE MOORE and
     ANTONIO NICHOLAS SMITH,
15
                   Defendants.
16

17                              I.      BACKGROUND

18        Defendant Danado Eugene Moore (“Mr. Moore”) is charged with

19   one count of felon in possession of a firearm in violation of 18

20   U.S.C. § 922(g)(1).     ECF No. 14.       On August 26, 2016, Assistant

21   United States Attorney Timothy Delgado (“Mr. Delgado”) called Mr.

22   Moore’s attorney, Sean Riordan (“Mr. Riordan”), and stated that

23   “the government had changed course with respect to Defendant

24   Moore, and intended to dismiss the indictment against him.”

25   Delgado Decl. ¶ 4, ECF No. 35-1.          Neither attorney memorialized

26   the conversation in writing on the date the conversation

27   occurred.   Tr. 3, Sept. 6, 2016, ECF No. 30.        Three days later,

28   Mr. Riordan sent Mr. Delgado an email stating that “the defense
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 1   would like to see [the dismissal] happen as soon as possible.”

 2   Ex. A4 to Riordan Decl., ECF No. 34-5.        Mr. Delgado did not

 3   respond to Mr. Riordan’s email.       Delgado Decl. ¶ 10.         Mr. Riordan

 4   sent Mr. Delgado another email on September 1, 2016, inquiring

 5   about “the Rule 48(a) filing.”       Ex. A5 to Riordan Decl.        Later

 6   that day, Mr. Delgado called Mr. Riordan and said that “in light

 7   of recent case developments . . . the [G]overnment would not be

 8   dismissing the charge against Defendant Moore.”          Id. ¶ 11.

 9        On September 6, 2016, the case came before this Court for a
10   trial confirmation hearing.      See ECF No. 26.     The Court
11   instructed the parties to “brief the issue of whether [the Court]

12   should enter a dismissal based on the [G]overnment’s

13   representation” that it would dismiss the indictment against Mr.

14   Moore.   Tr. 6.   The Government and the defense both submitted

15   briefs on whether the Court should dismiss the indictment against

16   Mr. Moore.   ECF Nos. 34, 35.     For the reasons set forth below,

17   the Court concludes that the indictment against Mr. Moore must be

18   dismissed.

19
20                              II.      OPINION

21        Contract law principles apply in the context of promises

22   made to defendants by prosecutors.       See e.g. United States v.

23   Weaver, 905 F.2d 1466 (11th Cir. 1990) (analyzing estoppel with

24   respect to a federal agent’s promise of immunity); Puckett v.

25   United States, 556 U.S. 129, 137 (2009) (“[P]lea bargains are

26   essentially contracts.”); United States v. Washington, 887 F.

27   Supp. 2d 1077, 1099 (D. Mont. 2012), adhered to on

28   reconsideration, 2012 WL 4602838 (D. Mont. Oct. 2, 2012)
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 1   (analyzing promissory estoppel in defendants’ motions to dismiss

 2   indictments).

 3        Mr. Moore argues that the Court should dismiss the

 4   indictment in this case under the doctrine of promissory

 5   estoppel.   Def.’s Mot. to Dismiss at 8, ECF No. 34.         To

 6   successfully invoke promissory estoppel, the promisee must show

 7   “(1) the existence of a promise, (2) which the promisor

 8   reasonably should have expected to induce the promisee's

 9   reliance, (3) which actually induces such reliance, (4) that such
10   reliance is reasonable, and (5) that injustice can only be
11   avoided by enforcement of the promise.”        Washington, 887 F. Supp.
12   2d at 1099 (citing Aguilar v. Intl. Longshoremen's Union Loc. No.

13   10, 966 F.2d 443, 445 (9th Cir. 1992)).        The promise must be

14   clear and unambiguous.     Id.

15        It is uncontroverted Mr. Delgado made a clear and

16   unambiguous promise to dismiss Mr. Moore during his August 26,

17   2016 conversation with Mr. Riordan.        Mr. Riordan unequivocally

18   stated in his declaration that Mr. Delgado told Mr. Riordan “that

19   the Government would dismiss the case against Mr. Moore.”
20   Riordan Decl. ¶ 7.     This promise is also evidenced by the email

21   Mr. Riordan sent to Mr. Delgado on August 29, 2016 asking Mr.

22   Delgado to file the Rule 48(a) dismissal as soon as possible.

23   Ex. A4 to Riordan Decl.     Furthermore, Mr. Delgado does not

24   contest that he told Mr. Riordan he would dismiss the indictment.

25   In fact, Mr. Delgado indicates in his declaration that he told

26   Mr. Riordan “that the government had changed course with respect

27   to Defendant Moore and intended to dismiss the indictment against

28   him.”   Delgado Decl. ¶ 4.     Mr. Delgado also never responded to
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 1   Mr. Riordan’s August 29 email to indicate that anything Mr.

 2   Riordan had stated in his email was incorrect or that his promise

 3   to dismiss the indictment was conditional in any manner.          Indeed,

 4   if Mr. Delgado had changed his mind or intended to add

 5   undisclosed conditions to the promise to dismiss the indictment

 6   against Mr. Moore, he should have responded to Mr. Riordan

 7   immediately to clarify the Government’s intent.          At no time did

 8   the government indicate in writing that it was withdrawing or

 9   adding conditions to its promise to dismiss Mr. Moore.
10        The second element—reasonable expectation of reliance—is

11   also present here.     Mr. Delgado clearly and reasonably expected

12   Mr. Riordan to rely on Mr. Delgado’s promise to dismiss the

13   indictment as evidenced by Mr. Delgado’s statement in his

14   declaration that he “was aware that [Mr. Riordan] was

15   contemplating a lengthy discovery motion” and Mr. Delgado “wanted

16   to notify [Mr.] Riordan without delay so as to spare him any

17   unnecessary work over the coming weekend.”         Delgado Decl. ¶ 14.

18   Additionally, Mr. Riordan told Mr. Delgado that “his client would

19   be happy to hear the news.”      Id. ¶ 8.    The evidence demonstrates
20   that Mr. Delgado “reasonably expected” that his promise to

21   dismiss the indictment would induce Mr. Riordan to (1) stop

22   working on the discovery motion and other trial preparation; and

23   (2) tell his client that the Government would dismiss the federal

24   charge against him.

25        As to the third element of promissory estoppel, it is clear

26   that Mr. Moore and Mr. Riordan actually relied on Mr. Delgado’s

27   promise.   Mr. Riordan indicates that based on Mr. Delgado’s

28   representation, Mr. Riordan “met with [Mr. Moore] to relay the
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 1   good news to him.”     Riordan Decl. ¶ 9.     Mr. Riordan also

 2   indicated in a request to the Court that he had “stopped work on

 3   the case—including stopping forensic analysis of the firearm in

 4   question and stopping a social science expert’s work.”            Def.’s

 5   Req. at 2, ECF No. 24.

 6        There is no dispute that, as to the fourth element of

 7   promissory estoppel, Mr. Moore’s and Mr. Riordan’s reliance was

 8   reasonable.   The American Bar Association’s Model Rules of

 9   Professional Conduct implore attorneys to keep clients informed
10   of the status of the client’s case.        Model Rules of Prof’l
11   Conduct r. 1.4(a).     It was both reasonable and ethically expected
12   of Mr. Riordan to inform Mr. Moore that the Government intended
13   to dismiss the federal charge against him.         It was also
14   reasonable for Mr. Riordan to stop working on the discovery
15   motion and other trial preparation.        In fact, as noted above, the
16   government told Mr. Riordan on Friday, August 26, 2016 of its
17   intent to dismiss Mr. Moore “without delay so as to spare him any
18   unnecessary work over the coming weekend.”         See Delgado Decl.
19   ¶ 14.
20        Lastly, injustice against Mr. Moore can only be avoided by

21   enforcing the government’s promise to dismiss the indictment.

22   Mr. Moore remains in jail on the federal charge as of the date of

23   this Order, nearly a month after Mr. Moore was informed that the

24   indictment against him would be dismissed.         Mr. Delgado’s failure

25   to follow through with his promise has also created the risk of

26   “undermining Mr. Moore’s trust in counsel and interfering with

27   the attorney/client relationship.”       Mot. to Dismiss at 9.

28   Furthermore, because of Mr. Delgado’s promise to dismiss the
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 1   indictment, Mr. Riordan stopped his discovery, investigation and

 2   trial preparation efforts on this case.        Mr. Riordan lost several

 3   critical days of preparation for Mr. Moore’s impending trial.

 4   While the government argues that dismissal of the indictment is

 5   too drastic of a remedy under the circumstances, the Court

 6   disagrees.   Dismissal is necessary to ensure justice.            This Court

 7   admittedly holds federal prosecutors to a higher standard than

 8   the usual litigant and expects them to follow through on their

 9   promises. The Court can think of no promise more significant than
10   the one made in this case to dismiss Mr. Moore. It must be
11   enforced.    United States v. Hoffman, 2015 WL 5604419, at *3 (E.D.
12   Cal. Sept. 23, 2015).     “Courts expect even higher ethical

13   standards from prosecutors.”      Morrow v. Superior Court, 30 Cal.

14   App. 4th 1252, (1994), as modified (Jan. 5, 1995).

15        Constitutional principles of due process and fundamental

16   fairness also support dismissal of the indictment against Mr.

17   Moore.   The Ninth Circuit has stated that “fundamental fairness

18   requires that promises made during plea-bargaining and analogous

19   contexts be respected.”     Johnson v. Lumpkin, 769 F.2d 630, 633
20   (9th Cir. 2014).    Additionally,

21        Defendants have a due process right to enforce
          governmental promises. Requiring the government to
22        uphold the agreements into which it enters is a matter
          of great public interest. With respect to federal
23        prosecutions, the courts’ concerns run even wider than
          protection of the defendant’s individual
24        constitutional rights—to concerns for the honor of the
          government, public confidence in the fair
25        administration of justice, and the effective
          administration of justice in a federal scheme of
26        government.
27   United States v. Jensen, 996 F. Supp. 2d 1151, 1154 (D. Utah

28   2014) (internal quotation marks and citations omitted).            Both the
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 1   private interest of Mr. Moore and public interest in the fair

 2   administration of justice oblige the Government to uphold the

 3   promise it made to Mr. Moore and his counsel.         The government in

 4   a criminal case wields considerable power.         Hoffman, 2015 WL

 5   5604419, at *3.    It therefore “has a vital responsibility to

 6   criminal defendants, the courts, and to the public to exercise

 7   its powers responsibly and justly.”        United States v. Gourley,

 8   2006 WL 2585027, at *4 (Sept. 7, 2006).        A prosecutor’s word is

 9   his bond. In this case, on August 26, 2016 the government
10   unequivocally and unconditionally told Mr. Moore’s attorney that
11   the federal charge against his client would be dismissed.         Given
12   the government’s refusal to now honor its promise to Mr. Moore,
13   the Court is obligated to step in and enforce this promise.
14   Accordingly, the indictment against Mr. Moore is dismissed.
15

16                              III.       ORDER

17        For the reasons set forth above, the Court dismisses the

18   indictment against Mr. Moore.       The case will proceed against

19   Defendant Antonio Smith.
20        IT IS SO ORDERED.

21        Dated: September 23, 2016

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